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            IN THE UNITED STATES DISTRICT COURT
            FOR THK SOUTHERN DISTRICT OF TEXAS




                                        Case No. 4:13-cv-856 (DH) (SWS)

                                        JURY DEMANDED




DIAGEO NORTH AMERICA INC. 'S OPPOSITION TO DEFENDANTS'
    MOTION FOR SUMMARY JUDGMENT ON TRADEMARK
    INFRINGEMENT AND UNFAIR COMPETITITON CLAIMS
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        Plaintiff Diageo North America, Inc. ("Diageo") respectfully submits this

memorandum        in opposition to the Motion by Mexcor, Inc. and EJMV Investments,

LLC (collectively, "Mexcor") for Summary Judgment on Trademark Infringement

and Unfair Competition         (the "Motion" ).

                               PRELIMINARY STATEMENT

        In this case, on the claims    of trademark     infringement      and unfair competition,

Diageo is required to show ownership         of a valid    trademark and a likelihood       of

consumer confusion.       Diageo owns "incontestable" federal trademark registrations

for both the CROWN ROYAL mark and the Purple                      Bag      trademark.   Thus, the

presumption      of Diageo's   ownership   of those   marks is "conclusive.
                                                                                  " Due to the
long and extensive use, and the extraordinary           levels   of advertising, promotion,       and

sales   of products covered     by the marks, they are not only protectable, they are

exceedingly strong, entitling Diageo to the widest scope               of protection.

        In turn, likelihood    of confusion is    determined     by a balancing    of the Fifth

Circuit's well-established      "digits of confusion.    " Mexcor      has failed to address,

much less even mention, most         of the "digits of confusion:"        namely, (i) the

similarity    of the parties' products; (ii) the   identity   of the   retail outlets and

purchasers;     (iii) the identity of the advertising media used; (iv) the defendant's

intent; and (v) the degree      of care exercised by potential consumers. All of these
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factors weigh overwhelmingly        in Diageo's favor, yet they are not even mentioned

by Mexcor.

       Instead, Mexcor has two basic arguments:            (i) that Diageo's marks have been

weakened through third party use        of similar marks;    and (ii) that cloth bags for

alcoholic products are "functional.     " The third     party use issue goes merely to the

overall relative strength    of Diageo's marks, not their protectibility,       and, as shown

below, Mexcor is simply wrong on the issue          of functionality.      First, Mexcor did not

raise functionality    as an affirmative defense, nor did it raise functionality       in its

counterclaims,      despite seeking to cancel Diageo's Purple      Bag       mark on grounds

of abandonment.       Second, rather than discuss the supposed functionality           of a

purple bag with the word "crown" emblazoned             on it, Mexcor obsesses about

cloth/velvet   bags generally, which are not at issue in this case. Third, Mexcor is

simply wrong on the law       of functionality.   Specifically, Mexcor is wrong when it

argues that Diageo bears the burden        of proving   that its trade dress is non-

functional, and it is wrong in applying the facts        of this case to   the legal definition

of functionality.     A mark may only be found functional when it is "essential to the

use" of the products or "affects the cost or quality" of the product. The CROWN

ROYAL Purple Bag trademark is not essentia] to consumers' consumption o f

the Canadian whisky, nor does it help lower the costs          of the   whisky or make the
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whisky taste better. It is clear, therefore, that the CROWN      ROYAL Purple

Bag      trademark is not functional.

         While it is telling that Mexcor fails to mention many   of the Fifth Circuit's

digits   of confusion, Mexcor   cannot overcome the overwhelming        evidence    of the

one "digit" it did attempt to address directly   —actual confusion. Indeed,        as shown

in Diageo's Motion for Summary Judgment, the degree and extent            of actual

consumer confusion in this case is overwhelming       and undisputed,    entitling Diageo

and not Mexcor to summary judgment.

                        COUNTERSTATEMENT OF FACTS

         Diageo respectfully refers the Court to its Motion for Summary Judgment

("Diageo MSJ") (Dkt. No. 88), for a full statement of the facts. Nonetheless,

Diageo will address facts that Mexcor mischaracterizes      or omits from its Motion.

         Mexcor concedes, as it must, that Diageo owns valid, incontestable

registrations   for the CROWN ROYAL marks. Mexcor Motion at 1. It also

acknowledges     that Diageo owns an incontestable    registration for the Purple     Bag

that has enclosed nearly every bottle   of Crown Royal Deluxe sold since            its

introduction    in 1964. Mexcor Motion at 1, Exhibits 1, 1A. Registering the Purple

Bag      mark required the USPTO to find that it is not functional.     See Exhibits 1,

1A.
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       Given this decades-long use      of the   Purple BagC&) marK, it is unsurprising      that

the Purple    Bag   has achieved a high level     of secondary   meaning.    See Exhibits 2,




       Mexcor does not dispute that the Poret survey shows secondary meaning for

the Purple

argues that

with Crown
              ~
              Bag   mark. Instead, it takes the Poret survey's results at face value and

                       of respondents   who associated the control bag in the survey

               Royal whisky indicates "de facto secondary meaning.            " Thus,
Mexcor admits that the Purple     Bag     has achieved secondary meaning. ' See

Mexcor Motion at 13, 24.

       However, Mexcor does not acknowledge many facts concerning (i) the

evolution    of its [State] CROWN   Club line     of whiskies   and (ii) actual confusion.

Mexcor entered the Canadian whisky market with its product, Texas CROWN

Club, in 2008. See Exhibit 4, and Exhibit 26 (Gutierrez Tr.          81:14-82:14). The

label prominently   featured the word "crown" by making it the largest word on that
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label.




          In 2009, Mexcor made very limited sales        of Texas CROWN      Club in a bag.

Exhibit 6 (Morales Tr. 10:18-24). During this period, Mexcor was "testing the
                                                        "
market" and only produced "hundreds [of bags] at a time. See Exhibit 6 (Morales

Tr. 11:12-12:1).Importantly, this initial Texas CROWN bag did not contain the
                 "
word mark "CROWN. Exhibit 6 (Morales Tr. 16:6-8). Rather, the bag consisted

only     of the Texas   flag design. Id. (Morales Tr.    15:12-16:11);see also Mexcor

Exhibit    8 at 4.


                                                        It was not until late 2011 that

Mexcor first began to sell the Texas CROWN Club product in bags with the flag

pattern and the name Texas CROWN Club. Exhibit 6 (Morales Tr. 78:20-24).

          Then in 2012, Mexcor began to launch a wave         of additional state-themed

CROWN Club products.            In 2012, Mexcor introduced Arkansas CROWN Club,

Florida CROWN Club, Tennessee CROWN Club, and South Carolina CROWN

Club. Id. at 58:19-22. In 2013, Mexcor launched California CROWN Club,

Colorado CROWN Club, and Southern CROWN Club. Id. at                    59:1-5. These     new

products represented a vast expansion        of the geographic presence of the [State]

CROWN Club products.            Further, the packaging    of these   new [State] CROWN
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Club products is even more similar to the ramous CROw N RO Y ALO~ and Purple

Bag    marks because all   of the packaging   displays the term "CROWN" in a gold

cursive font nearly identical to the font, style, and gold color used for the term

CROWN on the Crown RoyalCst whisky bag and box. Id at           1.   17:13-20.   ~




                                        . This design, which appears on both Texas

CROWN Club and the wave of additional [State] CROWN Club whiskies Mexcor

launched, makes CROWN appear as either a standalone mark or a composite mark

with the name    of the particular state, e.g. , Tennessee CROWN, South Carolina

CROWN, etc. Thus, it is hardly surprising that at retail, store owners and

consumers often refer to Mexcor's products without any reference to the word

"Club, " e.g. , "CROWN" standing alone, or "Carolina CROWN.           " Exhibit   10

(Josey Tr. 16:9-17:18).

       The clear emphasis Mexcor places on the word CROWN has contributed to

actua. confusion in the marketplace.   For example, Mexcor's administrator           of its
Facebook page for Texas CROWN Club, Jose Coira, knows of more than five

instances   of actual confusion. Exhibit 11 (Coira Tr. 13:1-7; 13:23-14:3;30:14-

31:22 ). In fact, Mr. Coira himself became confused    when testifying about
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consumers who simply referred to "Crown,
                                             " which   he acknowledged    is common

shorthand   for Crown Royal     and now also for Texas CROWN. See Exhibit 11

(Coira Tr. 32:11-34:22)and Exhibit 12.

      This actual confusion supplements    the overwhelming     evidence of actual

confusion proffered as part   of the Diageo MS J.

      Moreover, survey evidence from Dr. Isaacson's controlled, double blind,

"Eveready" format survey establishes a significant likelihood of confusion. See

Exhibits 13, 13A. Mexcor improperly attempts to wield the Poret survey, which

was conducted for a different purpose, against the Isaacson survey.

      However, the Poret survey does not undermine        Dr. Isaacson's findings at all.




                                                    Thus, subtracting the Poret

survey's control results from Dr. Isaacson's net confusion figures yields flawed

results, and Mexcor has proffered no viable explanation     for extrapolating   between

the two surveys.   Nor does Mexcor proffer any survey     of its own.
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         a.     Summary Judgment

         Summary judgment is appropriate          where "the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter   of law. "   FED.   R. Crv. P. 56(a).

         b.     Trademark Infringement            4 Unfair   Competition

         Proving trademark infringement          and unfair competition under the Lanham

Act and common law requires the plaintiff to prove: (i) ownership of a legally

protectable mark; and (ii) a likelihood         of confusion. Bd. of Supervisors for La.

State Univ. Agric.     ck   Mech. College v. Smack Apparel Co. , 550 F.3d 465, 474 (5th

Cir. 2008); RE/MAA Int         'l,   Inc. v. Trendsetter Realty, LLC, 655 F. Supp. 2d 679,

697 (S.D. Tex. 2009). As explained in detail below, Mexcor has failed to establish

that Diageo's CROWN-formative               and Purple BagOR marks are not entitled to

protection.    Moreover, Mexcor has not disproved (nor can it) the evidence           of a
likelihood    of confusion    including the overwhelming      evidence   of actual confusion

occurring in the marketplace.           See Diageo MSJ (Dkt. No. 88).

    2. Mexcor Has Failed To Establish That Oia eo's Trademarks Are Not
         Protectable

         Mexcor fails to establish that Diageo's CROWN ROYAL and Purple

Bag      marks are not entitled to protection.       Indeed, Mexcor admits that Diageo
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owns federal trademark registrations         for the CROWN ROYAL and Purple                Bag

marks. See Mexcor Motion at 1. Instead, Mexcor focuses on the Purple                 Bag

mark, arguing that it is functional and therefore not entitled to protection.

       a.        Functionality    Defined

       Generally,    "a product   feature is functional, and cannot serve as a trademark,

if it is essential to the use or purpose of the article or if it affects    the cost or quality

of the article. " Traffix Devices, Inc.      v. Mktg. Displays,    Inc. , 532 U. S. 23, 32 (2001)

(internal quotations and citation omitted).        If a product    feature makes the article

less expensive to produce or materially increases the quality           of the product, courts

become concerned that extending a trademark monopoly over such a feature could

harm competition.       See Natural Polymer Int 'l Corp.      v.   S&M Nutec, L.L. C. , No.

Civ. A 3:03-CV-0461-P, 2004 WL 912568, at *3 (N. D. Tex. Apr. 27, 2004).

There is no such concern here. Indeed, the Fifth Circuit recognizes (i) utilitarian

functionality,    and (ii) functionality    derived from a legitimate need to compete.

Smack Apparel Co. , 550 F.3d at 488. Functionality is a question of fact. Frito-Lay

N. Am. , Inc. v. Medallion Foods, Inc. , No. 4:12-CV-74, 2013 WL 74605, at                 *2

(E.D. Tex. Jan. 4, 2013); 1 J. THoMAs McCARTm,               McCARTHY oN TRADEMARKs

AND UNFAIR COMPETITION            ) 7:70 (4th ed. 2014). Upon       observing the Purple    Bag

mark, the Court can readily find that it is not functional, because it plainly is not

"essential" to the use or purpose of Canadian whisky, nor does it affect the cost or
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quality    of the   whisky.      If anything,    it makes the package more expensive, not less

expensive.

          Proof of registration of a mark is prima facie evidence that the mark is valid

and enforceable.             15 U. S.C.   )) 1114-1115.See Amazing           Spaces, Inc. v. Metro

Mini Storage, 608            F.3d 225, 237 (5th Cir. 2010). A registrant         need not prove non-

functionality       of its   marks unless the party seekine to cancel the mark has rebutted

the presumption         of validity. See Poly-Am. L.P. v. Stego Indus. , LLC, 3:08-CV-

2224-G, 2011 U. S. Dist. LEXIS 82647, at *19(N. D. Tex. July 27, 2011), aff'd,

482 F. App'x 958 (5th Cir. 2012). As explained below, Mexcor has completely

failed to rebut the presumption            of validity,    and, in any event, the Purple   Bag
mark is non- functional.

          b.      The Court Already Rejected The Premise Underlying                      Mexcor's
                  Functionality Argument

          All   of Mexcor's      arguments      concerning functionality      suffer from a common

flaw: Mexcor's fixation on cloth bags generally rather than the Purple                     Bag. But
this case is not about all cloth/velvet            bags. It is about, inter alia, Mexcor's cloth

drawstring      bags that prominently           feature the word "crown" on them in a

confusingly similar manner to Diageo's Purple                  Bag       mark. Indeed, Mexcor

  Mexcor incorrectly states the burden for proving functionality. 15 U. S.C. ) 1125(a)(3) only
                                                                     "
applies to trade dress "not registered on the principal register. Id. Here, Diageo owns an
incontestable registration for the Purple Bag mark. Exhibits 1, 1A. Accordingly, this statutory
provision is inapplicable.
  It merits emphasizing that Mexcor never pleaded functionality as an affirmative defense and
did not plead functionality as a basis for cancelling the Purple Bag mark. See Exhibit 14.

                                                      10
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already attempted to shoehorn into this litigation cloth bags that do not have the

word "CROWN" on them in its motion for leave to amend the answer. Dkt. No.

58. But the court denied Mexcor's motion. Dkt. No. 73. Thus, functionality of

cloth bags, per se, is not relevant and not covered by this case. And Mexcor has

presented no evidence that because the Purple          Bag     mark has gold stitching, gold

drawstrings,     is a certain shape, and features the word "Crown,
                                                                        " it is functional.
       c.        Consumers'       Reuse Of The Purple     Bag Does      Not Make     It
                 Functional

       Mexcor attempts to argue that because consumers can reuse the Purple

Bag,    it serves a utilitarian purpose and is functional.       Under utilitarian

functionality,    "if a product   feature is the reason the device works, then the feature

is functional.
                 " Natural   Polymer Int 'l Corp. v. SkM Nutec, L.L. C. , No. Civ. A.

3:03-CV-0461-P, 2004 WL 912568, at *2 (N. D. Tex. Apr. 27, 2004) (internal

quotations and citation omitted).       However, Mexcor does not and cannot argue that

the Purple     Bag   helps a consumer drink Crown         Royal whisky. Indeed, evidence

in the record indicates that the Purple      Bag     is not:




                                                11
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        Simply put, the Purple BagOK mark is noi "the reason the [product] worKs.                 "
Ai. It has    nothing to do with the use and consumption           of the   Canadian whisky

product.




        Packaging like the Purple         Bag    mark is not functional simply because it can

serve useful functions aside from being appealing to consumers.                 See Fun-

Damenta/      Too v. Gemmy Indus. Corp. , 111 F.3d 993, 1002 (2d Cir. 1997) (holding

that toy's packaging was not functional even though it allowed the toys to be

stacked and protected the toys from damage during shipment).                  Indeed, Diageo is

unaware      of any case   in which a trademark has been held functional because a

consumer takes the trademarked            item and repurposes it. Taking Mexcor's

argument to its logical conclusion means that no unique design                of a bag or other

packaging could ever gain trademark or trade dress protection because consumers

could use it to contain something other than the product originally enclosed within




" Diageo's               of and
             knowledge            interaction with consumers who repurpose the Purple   Bag   does
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       Additionally,   Mexcor's conduct undercuts its argument.         After all, Mexcor

filed ten different trademark applications for the design      of [State] CROWN Club

bags, including its Texas CROWN Club cloth bag. Mexcor Exhibit               F. Mexcor

would not have done so     if it believed   that cloth bags were functional and not

entitled to protection because consumers can reuse them.

       d.      Even If The Purple Bag Creates A Marketing Advantage, That
               Does Not Make It Functional

       Mexcor also seems to be asserting that because bags provide "added value"

and "connote luxury,
                        " they   are necessary to compete in the Canadian whisky

market. However, "[t]he fact that a trademark is desirable does not, and should

not, render it unprotectable.
                                 " Smack Apparel,    550 F.3d at 488 (quotations and

citation omitted). Moreover, simply because a design feature contributes to a

trademarked    product's success does not make it functional.       See Pebble Beach Co.

v. Tour   18 I, 155 F.3d 526, 538 (5th Cir. 1998) (affirming this Court       and observing

that a definition   of functionality based   upon "commercial success or marketing

effectiveness. . . would allow a second comer to copy the protectable trade dress

of a product   whenever the product became successful and preferred by

consumers"); see also Fun-Damental           Too, 111 F.3d at 1002 ("Although this

particular packaging incorporates effective features for marketing the product, the


not compel a different result. See Mexcor Exhibits  I,T. This is because Diageo does
not tout any functional features of the Purple Bag as related to the drinking of Crown Royal
whisky.

                                               13
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deferidarits     failed io persuade ihe disirict court thai it is essential to effective

competition in the novelty toy market.          ").
          It is thus plain that the "added value" or consumer perception of luxury that

the Purple      Bag       supposedly creates is not functional.   Cf. Maker 's Mark

Distillery, Inc. v. Diageo N. AIn. , Inc. , 703       F. Supp. 2d 671, 684, 686, 687 (W.D.

Ky. 2010), aff'd, 679 F.3d 410 (6th Cir. 2012) (noting that the wax seal made

Maker's Mark bottles look artisanal and holding that red wax sealing atop the

bottles    of Maker's Mark bourbon         was not functional even though it helped seal the

bottle closed); Vuitton et Fils S.A. v.       J. Young   Enters. , Inc. , 644 F.2d 769, 776 (9th

Cir. 1981) (holding that the Louis Vuitton logo was not functional because:                 "Ifthe
Vuitton mark increases consumer appeal only because               of the   quality associated

with Vuitton goods, or because          of the prestige associated   with owning a genuine

Vuitton product, then the design. . . is identifying the source            of the   product and

thus should be protected"). Instead, Mexcor must show that it cannot legitimately

compete without copying the Purple            Bag. '
          The evidence demonstrates        that cloth bags (or an imitation Purple      Bag)      are

not necessary to compete.


' Mexcor's     argumentabout the bags' marketing desirability seems to be a backdoor way of
arguing that because the Purple Bag is a bag, it "confers a significant benefit upon consumers
that cannot practically be duplicated by alternative designs" and cannot be protected. See S%o
Dat Yat Chat, ILC v. WAo Dat, Inc. , Nos. Civ. A. 10-1333, 10-2296, 2012 WL 1118602, at *13
(E.D. La. Apr. 3, 2012). This concept is aesthetic functionality, which the Fifth Circuit has
rejected. See Smack Apparel, 550 F.3d at 487.
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~l                     d   d,   M*     d     d     lttdl      tt
products and Diageo's CROWN ROYAL product are the only alcoholic
                                                                   [R




beverages that come in bags bearing the word CROWN. Exhibit 16 (Mexcor's
                                                                         ]CRORRBCLUB




Responses to Diageo's Requests for Admission ("RFA Responses" )) at 1-3.

      Crown Royal      whisky is the leading brand         of Canadian   whisky in the

United States, but other brands   of Canadian     whisky do not need a bag to compete

with it. Exhibit 16 (RFA Responses 34      k 35).




Canadian Club, which lacks a cloth/velvet        drawstring    bag,




~.     Clearly, cloth bags are unnecessary       for Mexcor to compete.

      e.     Mexcor's Case Law Regarding Functionality Is Inapposite

      Mexcor cites two inapposite cases regarding de facto secondary meaning in

functional items. The first case, Am. Online, Inc. v. AT&T Corp. , 243          F.3d 812

(4th Cir. 2001), differs significantly from the case at bar because the status

notification "You Have Mail" served a functional purpose related to providing


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email messages.         Specirically the message accurately and descriptively informed

users that "[They] Have Mail.         " hee id. at 819. The Purple       BagOR   does not help a

consumer drink whisky.           Furthermore,   America Online never attempted to register

the "You Have Mail" message with the USPTO and never sought to enforce its use

of that phrase. Id. By contrast, Diageo          owns an incontestable       federal trademark

registration for the Purple       Bag    mark and has in fact enforced that mark against

E.AJ. Gallo Winery. Exhibits 1, 1A, and Mexcor Exhibit M.

           Mexcor's other case, Fisher Stoves, Inc. v. All Nighter Stove 8'orks, Inc. ,

626 F.2d 193, 195 (1st Cir. 1980), is also inapposite.             Indeed, it is difficult to argue

the features in Fisher Stoves like four legs on an iron stove, the color black to

radiate heat, and a two level stove top to create turbulence aiding combustion are

not functional, which plaintiff apparently            attempted to do. See id. at 195.

     3. Mexcor Fails To Show There Is No Likelihood Of Confusion
       Mexcor spills much ink attempting to dodge liability, but it surprisingly                fails

to address many digits of confusion enumerated in Bd.               of Supervisors for La. State
Univ. Agric. ck Mech. College v. Smack Apparel Co. ,               550 F.3d 465, 478 (5th Cir.

2008). Indeed, its brief is silent about (i) the similarity of the goods, (ii) the

identity    of the   retail outlets and purchasers,     (iii) the identity of the advertising

media used, (iv) Mexcor's intent, and (v) the degree              of care exercised by   potential

purchasers.      See id. Also, Mexcor barely addresses the similarity of the marks.
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This contrasts with Diageo's MSJ, which methodically                analyzed all   of the   digits   of

confusion, each        of which weighs    heavily in Diageo's favor. See Dkt. No. 88.

         ao      Third Party Use Of The Word, "Crown" Has Not Meaningfully
                 Weakened Diageo's CROWN-Formative Marks

                          i.      None Of The Third Party Products Mexcor
                                  References Weaken Diageo's CROWN-Formative
                                  Marks

         Mexcor fails to cite a single third party product that negatively impacts the

strength      of the CROWN ROYAL mark. None of the                  third party products that

use the word "crown" are sold in a bag. See Exhibit 16 (RFA Responses 1-3). Nor

do any     of these   third party products display the word "crown" as the most

prominent      element    of their label the way   that Mexcor does with its I State]

CROWN Club line of whiskies.              Each product that Mexcor cites in its Motion is

distinguishable.

         Canadian Crown does not compare to Crown Royal                  whisky because it is a

value-branded         beverage,                                                               See

Exhibit 18 (Frank-Lin Tr. 47:16-48:15)and                                                   . Also,

Canadian Crown has limited geographical             distribution.   Exhibit 18 (Frank-Lin Tr.

17:19-18:25).It is not sold         in a bag. Id. at    40:10-19.

         Potter's Crown also has limited geographic distribution.           It is mostly sold in

California, Idaho, Illinois, Florida, New York, North Carolina, Montana, Oregon,

Tennessee, Texas, Utah, and Washington.                Id. at 15:4-11. Furthermore,    itis not

                                                   17
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sold in a bag or in a squat boiiie, and ii is not advertised or promoted, which

contrasts starkly with the hundreds       of miiiions of doiiars Diageo    spends annually

to advertise and promote Crown Royal           whisky.   Id. at 16:10-12;41:4-10 and

Exhibit 19 (Declaration     of A. Wise, Dkt. No. 88-43, Diageo MS J Exhibit 84) at $7.

Simply put, when viewed side-by-side, Potter's Crown and CROWN                   ROYAL

whisky are not confusingly     similar.

          Crown Harris is yet another alcoholic beverage that is not advertised or

promoted.     See Exhibit 20 (Sazerac Tr. 47:6-9). It is sold only in Idaho to value-

minded consumers.       Exhibit 18 (Frank-Lin Tr. 42:16-43:7) and Exhibit 20 (Sazerac

Tr. 46:10-15;47:6-9). It is not sold in a bag. Exhibit 18 (Frank-Lin Tr. 40:20-22)

and Exhibit 20 (Sazerac Tr.    46:20-47:2).

          Crown Russe vodka and gin are not Canadian whiskies.           Like the preceding

products, they are only sold in limited geographic areas (15-20 states total) and are

not advertised or promoted.     Exhibit 20 (Sazerac Tr. 49:4-8; 50:11-16;52:7-13).

They are not sold in bags. Id. at 72:17-25.

          Similarly, Crown Czar vodka is not a Canadian whisky, and like almost

every product Mexcor cites concerning the word           crown,
                                                                  " it is distributed   in only a

handful    of states. Indeed, Crown Czar     is primarily sold in California and Oregon.

See Exhibit 18 (Frank-Lin Tr. 20:6-16). It is not sold in bags. See id. at 19:22-

20:5 and Exhibit 21.
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      Beefeater Crown Jewel is likewise irrelevant.           Its owner, Pernod Ricard

USA LLC, discontinued       it in 2007, before any   of Mexcor's [State] CROWN Club




~,
products entered the market. Exhibit 22 (Pernod Ricard Tr.           23:20-24:11). When it

was on the market, it was targeted to travel retail,

                   S** d.     24:3-7    d~,              It         t     Id        3 g.

      As for the remaining products cited in Exhibit P, Gold Crown, King' s

Crown, and Crown Sterling, Mexcor has not presented admissible evidence that

these products are currently in the marketplace nor that they have had any impact

on the CROWN ROYAL trademark.




                                                                        At most, these

pictures constitute meager evidence     of minor    third party use, most        of which

appears to predate the CROWN ROYAL               mark. None is sold in a bag.

                     ii.    Mexcor's Case Law Is Inapposite

       Neither   of the cases Mexcor cites to try to undermine       the strength     of

Diageo's CROWN-formative         marks are on point. In Sun Banks          of Florida, Inc.   v.


Sun Federal Savings and Loan Association, 651          F.2d 311 (5th Cir. 1981), the word

"sun" was not held to be strong and distinctive because over 4,400 businesses

registered with the Florida Secretary    of State   used the word. Mexcor makes no

showing that even remotely approaches such widespread use               of the    word. See id.



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at   316. Unlike Diageo, which extensively markets Crown Royal whisky                 playing

on the word "crown" (e.g. "For Every King, A Crown" ), the Sun Banks court

found "significant the fact that neither party has ever used the name 'Sun' alone in

its advertising.   " Id. at 318. See also   Exhibit 23.

        Similarly, because Columbia University almost never presented the name

"Columbia" alone, Trustees      of Columbia     Universitv v. Columbia/HCA        Healthcare

Corp. , 964 F. Supp. 733, 745-46 (S.D.N. Y. 1997) is inapposite.           See also Exhibit

23. The Columbia Court also found it significant that the services offered by the

parties were distinct. See id. at 746. Here the parties both offer identical goods—

Canadian whisky, sold in the same stores, to the same consumers, in bags,

prominently    displaying   the terrri CROWN, side-by-side on store shelves.

        b.     Mexcor Fails To Establish That Limited Use of Bags By Third
               Parties Has Weakened the Purple Bag Mark

        The limited third-party use   of cloth/velvet bags to enclose      spirits does not

advance Mexcor's Motion one whit. None             of these   other uses also feature the

word "Crown" prominently        on 'the bag like Mexcor does on its [Statej CROWN

Club whiskies.      See Exhibit 16 (RFA Responses 1-3). In fact, Mexcor recognizes

that the Purple    Bag
the Poret survey to mean that     ~
                         mark is strong despite these third party uses by interpreting

                                            "customers simply assume that an alcoholic

beverage bag must be related to the CROWN ROYAL brand.                 " See Mexcor's
Motion at 13-14, 24.

                                              20
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        Additionally,   the evidence belies Mexcor's attempts to play up extremely

   itdtlid-p       ty      f   i   tkkg   t    i        kiky. P       *    pt~

                                                         . These bags are available only

in control states during holiday periods. See id. at 28:4-22; 29:3-25.

        Mexcor cites Canadian Club Classic 12 ("Classic 12") as another Canadian

whisky that supposedly     comes in a cloth drawstring bag. Yet Mexcor fails to

disclose that Beam Inc. 's     ("Beam" ) corporate   representative   testified that it does

not sell, ship, or package Classic 12 in bag. Exhibit 24 (Beam Tr. 12:16-22; 17:18-

25; 37:6-25; 40:13-15). Beam has not sold Classic 12 in a bag since 2005. Id.




        Nor do Tito's Handmade Vodka's ("Tito's") bags weaken the Purple               Bag

mark.




 Beam owns the Classic 12 brand. See Exhibit 24 (Beam Tr. 26:7-9).


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       Pernod Ricard USA LLC sells very limited amounts            of Royal Salute Scotch

Whisky. It has sold about 5,000 cases        of Royal Salute   in the past four-and-a-half

years in the United States. Exhibit 22 (Pernod Ricard Tr. 110:7-15). Each bottle

retails for $180-200, which far exceeds the cost      of Crown Royal whisky. See Id.

at 53:22-54:6 and                                     . Unlike Crown Royal         whisky,

Royal Salute is not advertised.       Exhibit 22 (Pernod Ricard Tr.   21:16-22:1).
       Caribou Crossing is likewise inapposite.       Sazerac Co. , Inc. sells Caribou

Crossing in less than half   of the   United States. Exhibit 20 (Sazerac Tr.    21:15-22;

66:8-15). Unlike Mexcor's [State] CROWN Club            and Diageo's Crown RoyalO&

whiskies, Caribou Crossing comes in just the 750 mL size. Jd. at          21:10-14.

Sazerac does not advertise or promote Caribou Crossing, in contrast to the

advertising   and promotion that both Mexcor and Diageo undertake for the products




                                                               d~
at issue here. See id. at 67:20-68:7 and




~
Lastly, Caribou Crossing is a $50 craft product,

          -*hl» 2tl(B *         T. 21!925;671819)
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       Similarly, Blanton's Bourbon, which Sazerac also sells, is not advertised and

is meant for bourbon aficionados.       See Exhibit 20 (Sazerac Tr. 42:21-43:6). Even

then, only half   of each case comes    in a bag. Id. at   40:5-23; 42:13-17.

       Sazerac also partially owns the Pappy Van Winkle bourbon brand. Id. at

32:19-22. This unadvertised specialty bourbon caters to bourbon aficionados and

usually does not appear on store shelves. See id. at        36:1-23; 81:13-82:14. In fact,

"most of the product is held and locked up in a back room for consumers who have

preordered it.
                 " Id. at 82:8-10. It is not   available nationwide   and is produced in

very limited quantities.     See id. at 33:5-7; 35:4-13.

       Order    of Merit   whisky is not available for sale at all because Constellation

Brands stopped selling this brand between 1999 and 2001. Exhibit 17

(Constellation Tr. 42:8-43:14; 100:3-17). In fact, Mexcor lacks any probative

evidence that Order     of Merit   was ever sold in a cloth bag after the 1960s. See id. at

42:8-16; 43:6-14; 101:1-7;103:2-16.

       Mexcor claims that Flor de Cana rum, Rebecca Creek whisky, and

Enchanted Rock vodka come in bags, but it presents scant evidence            of this.

Indeed, the only evidence that these products are sold in bags comes from the

expert report    of Kenneth B. Germain     who allegedly purchased these products in

bags. See Mexcor Exhibit X. This paltry evidence is potentially hearsay and fails

to demonstrate     that the bags are analogous to the Purple     Bag    mark. Therefore,
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these alleged uses        of bags    do not weaken Diageo" s trademark rights in the Purple




       c.        Mexcor Fails To Demonstrate That Its [State] CROWN Club
                 Marks Are Materially Dissimilar From Diageo's Marks

                          i.        "Crown" Is The Most Dominant Feature Of Mexcor's
                                    [State] CROWN Club Marks
       The'. word     "crown" is the most prominent nart of Mexcor's rStatel CP AA'ANT

Club mark. Determining              the similarity   of the   marks requires the Court to view the

combination      of the   individual     elements "as a whole.     "   Tex. Tech. Univ. v.

Spiegelberg, 461 F. Supp. 2d 510, 521 (N. D. Tex. 2006)                   ("Although   individual

features    of the   design are relevant. . . the Court should focus on the commercial

impression     of the   mark as a whole"         ) (internal quotations
Mexcor makes the word "crown" the largest word on its bottles of whisky.                      ~
                                                                          and citation omitted'




                               , Exhibit 26 (Gutierrez Tr. 19:2-16),and Exhibit 6 (see

Morales Tr.     40:11-14; 146:6-150:8).




       "Clown" is the largest word on Mexcor's cloth/drawstring                   bags, and has

been since their introduction          in late   2011 for Texas and 2012-2013 for the

remaining     states. See                                              and Exhibit 6 (Morales Tr.
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58:19-22; 59:1-5). Its other [State] CROWN Club products make the word

"crown" the most eye-catching feature on the bag, with gold cursive font highly

reminiscent   of the font Diageo uses for     Crown Royal         whisky.   Indeed, "the

Crown is written just like Crown. I mean it looks just like" CROWN ROYAL.

Exhibit 27 (Lovell Tr. 13:3-5).

      Mexcor's emphasis that Diageo does not own cursive or gold font misses the

point. As used in commerce, these elements             of Mexcor's [State] CROWN         Club

products, when combined with the size         of the   word "crown,   " infringe   Diageo's

CROWN-formative         marks.

                       ii.    Consumers Focus On The Word "CROWN,                    "
                              Underscoring Its Prominence

       It is undisputed that consumers frequently refer to Crown Royal whisky as

"Crown. " Indeed, an assistant manager for a liquor store testified that consumers

commonly refer to Crown Royal             whisky simply as "Crown.
                                                                        " Exhibit    10 (Josey

Tr. 18:10-20).




       Illustrating   the importance   of "Crown" to both parties' marks, Mexcor's

Texas CROWN Club Facebook page administrator                  testified that consumers often

refer to Crown Royal         as "Crown,
                                          " but   unfortunately   for Diageo, they now also

                                                  25
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refer to Texas CROWN Club as simpiy "Crown. " See Exhibit                    1i   (Coira Tr. 5: i9-

25; 33:10-34:21). Indeed, when shown an exhibit where a consumer asked where

he could purchase a Texas bag for "Crown,             " Mr. Coira   could not state whether the

consumer was referring to Texas CROWN Club whisky or Crown Royal                           whisky.

See id. at 34:17-21. That Jose Coira could not tell whether a consumer was

referring to Texas CROWN Club whisky or Crown Royal                     whisky highlights      the

similarity    of the parties' CROWN-formative            marks and likely confusion.

                          iii.    The Federal Courts Have Jurisdiction To Decide
                                  Trademark Infringement, Not IJSPTO Trademark
                                  Examiners
        Mexcor's evidence that examining attorneys in the United States Patent

Trademark Office registered their [State] CROWN Club marks does not mean

there is no likelihood       of confusion. See Mexcor Exhibit X. As Mexcor's              own case

law recognizes, "Congress left no doubt that the PTO's decisions regarding

registrations    fall under the supervision       of federal courts. " Am.   Online, Inc. , 243

F.3d   at   817. Indeed    in "none   of these provisions conferring on      federal courts the

power to adjudicate rights under the Lanham Act does Congress instruct the courts

to review registration decisions of the PTO under a deferential standard.               " Id. See
also End Prod. Results,          II.C v. Dental   USA,   Inc. , No. 12-11546, 2014 WL 897363,

at *4 (E.D. Mich. Mar. 6, 2014) (holding that USPTO's registration                 of a mark did

not undermine      Plaintiff s ability to prove likelihood of confusion on the merits).
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Recognizing that the USPTO's finding is not binding on this Court, Mexcor tries to

strengthen      its evidence by claiming 39 instances in which the office purportedly

found no likelihood      of confusion. Mexcor Motion      at 4, 18. In reality, the

Trademark Examiner found no likelihood          of confusion   and registered Mexcor's

desired [State] CROWN Club marks just six times. See Mexcor Exhibit                    X at 19,

$18(c) and Exhibit 5B.

       Moreover, Mexcor has cited no authority for the proposition that its

registrations     have any probative value concerning likelihood        of confusion      in this

case. It should be noted that Mexcor's registrations were obtained ex parte, with

no third party challenge.      These ex parte registrations contrast with registrations

obtained in cases before the Trademark Trial and Appeal Board ("TTAB") after a

party has opposed an application or sought to cancel a registration on grounds                 of

likelihood      of confusion. Accordingly, there was no "adjudication" of Mexcor's

marks on the issue      of likelihood of confusion.   3 fortiori   an ex parte registration         by

a Trademark Examiner should be entitled to no weight on likelihood of confusion.

The law is actually still unsettled on what deference,       if any,   an inter-parties

decision by the TTAB on likelihood        of confusion   should be given by District

Courts. The Supreme Court is reviewing a petition for certiorari on the issue of

whether decisions in inter-parties     proceedings before the TTAB on likelihood               of

confusion are entitled to preclusive weight in these district courts. See B&B
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Hai"dware, Iric. v. riiirgi s Indus. , inc. , 716 F.3d 1020 (8th Cir. 2013), petition         for

cert. filed, 134 S. Ct. 982 (2014). Thus, it follows that mere approval of a

trademark application by the Trademark Examiner with no adjudication by the

parties to a subsequent           litigation should be given no weight.


                           iv.         Mexcor's [State] CR0%'N C!ub Bags Are Highly
                                       Similar To The Purple BagOR Mark

       Mexcor fails to show that its [State] CROWN Club bags sufficiently differ

from the Purple      Bag         to avoid confusion.      Rather than addressing the look   of the

bags "as a whole,
                          " Mexcor myopically       concentrates on minutiae.   See Tex. Tech.

Univ. , 461    F. Supp. 2d        at   521. Both the Purple Bag and Mexcor's imitation bags

are made      of cloth,    have drawstrings     and prominently    feature the word "crown.    "
Indeed, only the Purple           Bag      and Mexcor's [State] CROWN Club bags share

these characteristics.           See Exhibit 16 ( RFA Responses 1-3).

       As several         of Diageo's     witnesses have confirmed, any purported differences

between the Purple          Bag        and Mexcor's knockoff bags fail to adequately

distinguish     the competing whiskies.          Indeed, a confused consumer confirmed that

the purported differences do not matter:

       Q: Is it fair to say that even notwithstanding the differences between
       tile two [bags], you were still —you still thought the Texas Crown bag
       was Crown Royal at the time that you first saw it?

       A: When I first saw it, yes, sir, I'm not going to lie. I believe it was a
       commemorative kind of like Christmas. You know, I got camo red


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         and whatnot. I got all sorts of Crown bags. So, yeah, when I first
         seen it, yes, I was confused. . . .
                                            "
Exhibit 29 (Ledbetter Tr. 37:4-14). Consumers disregard the alleged differences

between the bags because, for example, "Crown Royal has lots            of different bags"

Exhibit 27 (Lovell Tr. 24:19-23) and "has different appearances on a lot          of their

bags.
        " Id. at 27:25-28:6; see Exhibit   29 (Ledbetter Tr. 37:4-14). Indeed, the fact

that Diageo has overwhelming        evidence    of rampant   consumer confusion (see

Diageo MSJ, Dkt. No. 88) makes Mexcor's citation to Am. Home Prods. Co. v.

Barr Labs. , Inc. , 834 F.2d 368 (3d Cir. 1987) unpersuasive.        There, the plaintiff

only had a methodologically     flawed likelihood     of confusion   survey; they had no

anecdotal evidence     of confusion. See Am. Home Prods. Co. v. Barr Labs. , Inc. ,

656 F. Supp. 1058, 1070 (D.N. J.), aff'd, 834 F.2d 368 (3d Cir. 1987).

Accordingly, Mexcor cannot evade liability by focusing on insignificant

differences in the parties' bags.

         d.     Mexcor Fails To Overcome Diageo's Overwhelming                And
                Undisputed Evidence Of Actual Confusion

         By trying to downplay the overwhelming         evidence   of rampant consumer

confusion as initial interest confusion, Mexcor concedes that Diageo is entitled to

summaryjudgment         on its trademark infringement        and unfair competition

claims. Mexcor actually admits that "some customers may initially associate

TEXAS CROWN CLUB with CROWN ROYAL because it is in a cloth bag and


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uses the word Crown.
                                " Mexcor      Motion at 28. That is a startling admission and

not only compels denial            of Mexcor's Motion,      it establishes that Diageo is entitled

to summary judgment on its trademark infringement                    and unfair competition

claims.   '   See Dkt. No. 88. The FiAh Circuit recognizes that "[i]nfringement can be

based upon confusion that creates initial consumer interest, even though no actual

sale is finally completed as a result            of the confusion.   " EIvis Presley   Enters. v.

Capece, 141 F.3d 188, 204 (5th Cir. 1998) (quotations and citation omitted); see

also RE/MAXInt        'I,
                            , Inc. , 655   F. Supp. 2d at 707 ("Initial-interest confusion is

especially relevant when the parties are direct competitors in the same market.                     ").
       Having admitted there is confusion, Mexcor's attack                  of Dr. Isaacson's
likelihood     of confusion       survey is irrelevant.    Actual confusion can 'oe proven with

anecdotal evidence, a survey, or both. See RE/MAX In/ 'l, Inc. , 655                   F. Supp. 2d at

704. Here, Diageo has both, but Dr. Isaacson's survey is not necessary to finding a

likelihood o f consumer confusion.

       Nonetheless,          Diageo strongly disagrees with Mexcor's criticisms            of Dr.
Isaacson's study.




 While Mexcor has admitted "initial interest" confusion, Diageo has extensive undisputed
                                                               "
evidence that consumers were not just "initially confused, but rather actually mistakenly
purchased Mexcor's products believing them to be CROWN ROYAL whisky.

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       Mexcor bases its claim that consumer confusion is "negligible" on a false

premise   —that   the design   of all of its [State] CROWN    Club whiskies remained

static from the introduction     of Texas CROWN       Club in May 2008 through the time

Diageo brought this lawsuit.       It did not. See supra at pp. 4-6 and Diageo's

accompanying      Opposition To Defendants'      Motion For Summary Judgment On The

Grounds Of Laches And Limitations.

       Mexcor cannot refute Andrew Josey's undisputed testimony that he knows

of at least 50 consumers       who believed South Carolina CROWN Club was

somehow affiliated with Crown Royal.            Such testimony is not hearsay under

Fifth Circuit precedent.       See, e.g. , Armco, Inc. v. Armco Burglar Alarm Co. , 693

F.2d 1155, 1160 n. 3 (5th Cir. 1982) (introducing       testimony from person with

knowledge    of confused consumers was not hearsay,         and even   if it were,   it is

admissible as a present sense impression); ConveI"sive, Inc. v. Conversagent,                Inc. ,


  Mexcor's citation to Duluth News-Tribune, a Div. ofNw. Publ'ns. , Inc. v. Mesabi Publ'g Co. ,
84 F.3d 1093 (8th Cir. 1996) is inapplicable because in that case, the consumers called the
plaintiff to clarify whether the two newspapers were associated. See id. at 1098. By contrast,
Andrew Josey testified that between 10-30 % of consumers were confused "basing that on them
referring to [South Carolina CROWN Club] as Crown Royal or having a conversation with them
                                                                                    "
where they realize it's not a Crown product and they express they believed it to be. Exhibit 10
(Josey Tr. 22:15-21). In any event, Duluth News-Tribune appears to be an outlier.


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433 F. Supp. 2d 1079, 1091 (C.D. Cal. 2006' (coiiecting cases concerning tne

admissibility   of a witness'   testimony about confused third parties, and holding the

Fifth Circuit's precedent persuasive).     This rampant actual consumer confusion

makes sense because,




       Moreover, Mexcor avoids any discussion        of the   two confused witnesses in

Houston, Texas who posted comments on Texas CROWN Club's Facebook page

showing they were confused and who also gave sworn declarations that they were

confused. See Exhibit 30 at $2 and Exhibit 31 at $3. Both posted comments

believing that Texas CROWN Club was a Crown Royal                whisky product.   Exhibit

30 at $4 and Exhibit 31 at $4. Mexcor does not mention these confused consumers

because it has nothing to say. Indeed, despite seeking and obtaining leave to

exceed the ten deposition limit under the Federal Rules to take depositions of these

witnesses, Mexcor chose not to depose them.
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                                 CONCLUSION

      For all of the foregoing reasons, Diageo respectfully requests the Court deny

Defendants'   Motion For Summary Judgment On Trademark Infringement          And

Unfair Competition Claims. See Exhibit 32 (Proposed Order).



DATED: June 9, 2014

                                      Respectfully Submitted,

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                            CERTIFICATE OF SKRVIC 'K

      I HEREBY CERTIFY that pursuant to Fed. R, Civ. P. 5(b), on this 9th day

of June, 2014, a true   and correct copy   of the foregoing Diageo North America,

Inc. 's Opposition To Defendants' Motion For Summary Judgment On Trademark

Infringement   And Unfair Competition was served upon the following counsel         of
record in this matter via ECF and FTP transfer:

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